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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA



BENNIE G. THOMPSON,
in his personal capacity,

                  and

KAREN R. BASS, in her personal capacity,        Civil Action No. 1:21-cv-00400-APM

                  and
                                                        responding to the
STEPHEN I. COHEN, in his personal capacity,          AMENDED COMPLAINT

                  and

VERONICA ESCOBAR, in her personal capacity,

                  And
                                                      PLAINTIFFS HAVE
PRAMILA JAYAPAL, in her personal capacity,            REQUESTED JURY TRIAL

                  and

HENRY C. JOHNSON, Jr.,
in his personal capacity,

                  and

MARCIA C. KAPTUR, in her personal capacity,

                  and

BARBARA J. LEE, in her personal capacity,

                  and

JERROLD NADLER, in his personal capacity,

                  and

MAXINE WATERS, in her personal capacity,

                  and
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BONNIE M. WATSON COLEMAN,
in her personal capacity,

                                  Plaintiffs,
             v.

DONALD J. TRUMP,
“solely in his personal capacity”1

                       and

RUDOLPH W. GIULIANI,

                        and

OATH KEEPERS,

                        and

PROUD BOYS INTERNATIONAL, L.L.C.,
A limited liability company under the laws of Texas

                        and

WARBOYS, L.L.C.,
A limited liability company under the laws of Florida

                        and

ENRIQUE TARRIO

                                 Defendants.


 DEFENDANT OATH KEEPER’S MOTION TO CLARIFY OR MODIFY ORDER ON
          SCHEDULED ARGUMENT FOR MOTIONS TO DISMISS
              WITH INCLUDED MEMORANDUM OF LAW

        Comes now the Defendant OATH KEEPERS Inc., and hereby moves the Court to update,

clarify, and/or modify its Order of January 5, 2021, at ECF Dkt. # 52, as follows:

1       Protocol requires that a current or former elected official be identified with the highest elected office
they have held now or in the past. However, since this would require for any former President calling them
by the honorific of President, but this would create hysteria of paranoia, and the Plaintiffs claim to be suing
and suing from their individual capacities, it is more circumspect to use official titles for none of the parties.


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       1)      Counsel enters his appearance not to interfere with the existing posture of this

case or the scheduled hearings or timetable, but to try to help avoid any problems with those.

       2)      Counsel is not sure, even after reviewing the court file on PACER, whether or not

the presiding judge intends to include consideration of the Oath Keeper’s Motion to Dismiss in

the hearing scheduled for January 10, 2022, and does not intend to press the scheduling of their

motion out of the proper timing.

       3)      However, because counsel cannot readily discern those plans, an abundance of

caution calls for some bridge over the situation.

       4)      The Court’s January 5, 2022, Order suggests in context that the presiding judge is

aware of the withdrawal of counsel for the OATH KEEPERS, previously entered, but has

decided to proceed with various Motions to Dismiss by various Defendants.

       5)      Normally, the obvious action would be to postpone the hearing, but there are too

many other parties affected and the Court might not choose that solution.

       6)      Thus, it may be that the Honorable Amit Mehta is not expecting to take up the

Motion to Dismiss of the OATH KEEPERS, Inc. at this time, even though it substantially

overlaps with other Defendants’ Motions to Dismiss.

       7)      Counsel notes that Judge Mehta ordered a very precise and detailed schedule of

argument for January 10, 2022, and with many parties affected, counsel here is not seeking to

disrupt the Court’s plans, but to protect them and the Oath Keeper’s rights in the best possible

compromise and approach.

       8)      If the Court intends to take up the Oath Keeper’s Motion to Dismiss at another

time, they do not object.

       9)      Primarily, the Oath Keepers, Inc. by Stewart Rhodes seek to avoid losing rights




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by default or non-participation or seeming to abandon their positions, including upon seeing that

a couple of Defendants have not answered and have suffered default. (Counsel will not

characterize those events noting that Enrique Tarrio is serving a short jail sentence for a matter

that is slightly different than the complaints here.)

       10)     The Oath Keepers, Inc. have filed a thorough, well-thought-out and well-

presented Motion to Dismiss in Thompson v. Trump, 1:21-cv-0400, by prior counsel.

       11)     Although, as with any time another attorney steps in, the undersigned counsel

might have added some further points, the Oath Keepers, Inc. are pleased to have their prior

counsel’s Motion to Dismiss presented in the case, and wish to have it considered and decided.

       12)     However, it would appear in the current posture that the Oath Keeper’s Motion to

Dismiss might be deemed orphaned or even abandoned by the withdrawal of their former

counsel.

       13)     Again, the Oath Keepers are primarily concerned about the possibility of suffering

a default (counsel is not expressing his legal analysis but the desire to be cautious of the Oath

Keepers, Inc.), or suffering legal consequences from not participating or not pressing forward the

very good Motion to Dismiss that their prior attorney filed.

       14)     This is especially important because a corporation cannot represent itself pro se

but required an attorney to appear in court.

       15)     Therefore, without an attorney representing them, the Court might be in the

position of viewing the thoroughly prepared – and expensive – Motion to Dismiss filed for the

Oath Keepers to be abandoned by non-participation -- even if counsel does not actually say

anything in the oral argument.

       16)     The Oath Keepers, Inc. are unable to raise funds because of false smears and




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allegations on both the Left and the Right of the political spectrum. Those who might normally

be supportive with practical help or donations have thrown allegations about Stewart Rhodes,

and the well has been poisoned with suspicions and conspiracy theories.

       17)     As with many people in this environment, Stewart Rhodes has been “un-

personed,” turned into less than a full human being, and banned from communicating. Being

“cancelled” as a person has directly interfered with raising legal defense funds.

       18)     The OATH KEEPERS, Inc. note that if rampant speculation about Stewart

Rhodes were true, then he would not care if the OATH KEEPERS, Inc. is defended in this

lawsuit. But he does care because the rumors are false and he supports and believes in what all

of the OATH KEEPERS members signed up for – to defend the rule of law, the Constitution,

and the integrity of America’s governmental and political institutions.

       19)     As a result, the very good work of prior counsel has left a large legal bill unpaid,

and prior counsel has withdrawn from the case. There should be no hint seen here of any

disparagement upon prior counsel nor any problem with the Oath Keepers, Inc. other than a lack

of financial resources.

       20)     Therefore, with full awareness that the Court has ordered a very precise timetable

for oral argument, and the relatively short time allotted may not afford any time for this counsel

for the OATH KEEPERS to consume any of the limited time available, the OATH KEEPERS,

Inc. want to make sure that their extensive Motion to Dismiss is not deemed to be abandoned.

       21)     While this situation taxes counsel’s analysis like a law school exam question the

more one thinks about it, it would seem that the OATH KEEPER’s must appear and at least have

the possibility of being able to comment in order to be deemed to be prosecuting their motion,

and not forfeiting or abandoning their Motion to Dismiss prepared at significant expense.




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       22)     However, in reality, counsel expects the other Defendants’ counsel to do an able

job of covering the material in their overlapping Motions to Dismiss.

       23)     Furthermore, counsel was concerned that in the tight time allotted for the hearing,

explaining these circumstances during the hearing would threaten to disrupt the timetable, and

therefore wanted to present these matters in writing rather than confusing the hearing itself.

       WHEREFORE, the Defendant OATH KEEPERS, Inc. asks that the Court clarify its

Minute Order by Minute Order as to whether the Court will consider any oral argument by said

Defendant on January 10, 2022, or instead at another time, that the Court will consider the

OATH KEEPER’s represented and seeking a decision upon their Motion to Dismiss, and

clarifying if any oral argument by the OATH KEEPERS may be considered, if not, obviously,

duplicative or unnecessary after any other remarks by the other Defendants.

Dated: January 8, 2022                        Respectfully submitted, OATH KEEPERS, Inc.
                                                             By Counsel




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on January 8, 2022, I electronically filed the foregoing document
with the Clerk of the Court by using the CM/ECF system, which will send a notice of electronic


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filing to the following CM/ECF participant(s), and also mailed a copy to the following by first
class U.S. mail, postage prepaid, one single copy to each law firm for distribution internally to all
counsel involved from that law firm, to:

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                                             /s/ Jonathon Moseley




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